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AO J«B(Rev 09/1 DfVAED rev. 2) Sheet I•Judgmenr In s Criminal Case


                                 UNITED STATES DISTRICT COURT
                                         Eastern District of Virginia
                                             Alexandria Division

UNITED STATES OF AMERICA
                 V.
                                                               Case Number: 1;1S-CR-00124-TSE-1


MUNEEB AKHTER                                                  USM Number: 85389-083
                                                               Defendant's Attorney; Mark J. Peirovich, Esq.
                                                                                           Joseph J. McCarthy, Esq.
Defendant.


                                  JUDGMENT IN A CRIMINAL CASE
   The defendant pled guilty to Counts I, 2, 7, 8,10 and 12 ofthe Indictment.
   Accordingly, the defendant is adjudicated guilty ofthe following counts involving the indicated offenses.
                                                                                              Offense Ended         Count
Title and Section             Nature of Offense                         OfTcpsc Class

                              Conspiracy to Commit Wire Fraud           Felony                April 2015            1
I8U.S.C.§I349
                                                                                              March 2015            2
18 U.S.C.§371                 Conspiracy to Acccss a Protected          Felony
                              Computerwithout Authorization

                              Access of a Protected Computer            Felony                February 8,2014
18 U.S.C. § 1030(a)(2)(C)
and(c)(2)(B)(i).(iii)         without Authorization

                                                                                              March 201S            8
 18U.S.C§371                   Conspiracy to Access a Government        Felony
                               Computerwithout Authorization
                                                                                               October 17,2014      10
 18 U.S.C. § 1001(a)(2)        False Statements                         Felony

                               Obstruction of Due Administration of     Felony                 April 30,2015        12
 I8U.S.C. §§ 1S03 and
 3147(1)                       Justice


    On motion ofthe United States, the Court has dismissed the remaining counts in the indictment (Counts 3,4, and 9) as
 to defendant MUNEEB AKHTER.

    As pronounced on October 2, 2015, the defendant is sentenced as provided in pages 2through 6ofthis Judgment. The
 sentence is imposed pursuant to 18 U.S.C. §3553 and the Scnicncing Reform Act of 1984.
   It is ORDERED that the defendant shall notify the United Stales Attorney for this district within 30 days ofany change
 ofname, residence, or mailing address until all tines, restitution, costs, and special assessments imposed by ihis judgment
 are fully paid. Ifordered to pay restitution, the defendant must notify the court and United States^tjQmey ofmaterial
 changes in economic circumstances.

    Signed ihis 2nd day of October, 2015.

                                                                          T. S. Ellis, m
                                                                          United States Dij^ict Judge
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